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EXHIBIT A

 

 
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Bnited States Patent and Trademark Office lly

Super DMZ

Reg. No. 4,738,017 IRONMAG LABS LLC (NEVADA LIMITED LIABILITY COMPANY)
. 1860 WHITNEY MESA DR #120
Registered May 19, 2015 1enperson, Nv 89014

Int. CL: 5 FOR: DIETARY SUPPLEMENTS, BODYBUILDING SUPPLEMENTS IN THE NATURE OF
NUTRITIONAL SUPPLEMENTS, SPORTS SUPPLEMENTS IN THE NATURE OF DIETARY
AND NUTRITIONAL SUPPLEMENTS, IN CLASS 5 (U.S. CLS. 6, 18, 44, 46, 51 AND 52).
TRADEMARK
FIRST USE 1-1-2010; INCOMMERCE 1-1-2010.
PRINCIPAL REGISTER
THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
TICULAR FONT, STYLE, SIZE, OR COLOR.

SER. NO. 86-349,722, FILED 7-28-2014.

EVIN L. KOZAK, EXAMINING ATTORNEY

 

Wiictth, Ko La

Director of the United States
Patent and Trademark Office

Exmprr_\_, Pace | |

 
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REQUIREMENTS TO MAINTAIN YOUR FEDERAL
TRADEMARK REGISTRATION

WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

 

 

 

Requirements in the First Ten Years*
What and When to File:

First Filing Deadline: You roust file a Declaration of Use (or Excusable Nonuse) between the
5th and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. Ifthe declaration is
accepted, the registration will continue in force for the remainder of the ten-year period, calculated
from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
federal court.

Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
Application for Renewal between the 9th and 10th years after the registration date.*
See 15 U.S.C. $1059.

Requirements in Successive Ten-Year Periods*
What and When to File:

You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
every 9th and 10th-year period, calculated from the registration date.*

Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above
with the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
of Use (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office
(USPTO). The time periods for filing are based on the U.S. registration date (not the international registration
date), The deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to
those for nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international
registrations do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the
underlying international registration at the Intemational Bureau of the World Intellectual Property Organization,
under Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated
from the date of the international registration. See 15 U.S.C. §1141j. For more information and renewal
forms for the international registration, see http:/Avww.wipo.int/madrid/en/,

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online
at http://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www-uspto.gov.

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